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 1   GARO B. GHAZARIAN, ESQ.
     State Bar No. 152790
 2   15915 Ventura Blvd., Suite 203
     Encino, California 91436
 3   Tel: (818)905-6484
     Fax: (818)905-6481
 4   E-mail: gbglaw@sbcglobal.net
 5
     Attorney for Defendant
 6   YURIK SHAKHBAZYAN
 7
 8                             UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,           )              No. CR. S-05-343 FCD
11                   Plaintiff,          )
                                         )
12
     v.                                  )              ORDER
13                                       )
     YURIK SHAKHBAZYAN,                  )
14   MANUK SHUBARALYAN, and              )
     ROZA GASPARIAN.                     )
15
                       Defendants.       )
16   ____________________________________)

17          GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT the

18   sentencing date for defendants YURIK SHAKHBAZYAN, MANUK SHUBARALYAN and

19   ROZA GASPARIAN, in the matter of United States v. Shakhbazyan, et al., Case No. 05-CR-

20   343 FCD, currently scheduled on August 10, 2009, at 10:00 a.m., shall be continued to

21   November 2, 2009, at 10:00 a.m.

22
23   Dated: August 6, 2009
                                                 _______________________________________
24                                               FRANK C. DAMRELL, JR.
                                                 UNITED STATES DISTRICT JUDGE
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26
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